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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *
*
Vv. *
* CRIMINAL NO. ELH-20-0361

JAMES IAN PICCIRILLI and =
KELLIE NICOLE WARFIELD, *
*
Defendants. *
*

REKKKEEK

ORDER

The Court finds, upon the Government’s Consent Motion to Exclude Time Under the
Speedy Trial Act, that under 18 U.S.C. § 3161(h), the interests of justice will be served by
continuing the trial date beyond the speedy trial date and that the ends of justice served by such a
delay in the trial of this case outweigh the interests of the public and the Defendants in a speedy
trial, in that:

a. The failure to grant this request in this proceeding would be likely to result in a
miscarriage of justice;

b. The requested exclusion of time would give defense counsel sufficient time to
review discovery; it would account for the period that COVID-19 is anticipated to either delay trial
or impair defense counsel’s communications with the Defendants, which may affect the parties’
ability to reach an agreement; it would account for the fact that criminal jury trials were suspended
in the District of Maryland between March 2020 and August 2020, then again, effectively, between
November 2020 and January 2020 due to the COVID-19 pandemic; it would allow the parties
sufficient time to engage in discussions regarding a disposition or prepare for trial; and

c. The failure to set trial beyond the speedy trial date in this proceeding would deny
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counsel for the Defendants and the attorneys for the Government the reasonable time necessary
for effective preparation, taking into account the exercise of due diligence.

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THEREFORE, it is hereby ORDERED, this F day of ce C . , 2020,

that:
l. The Government’s Consent Motion is GRANTED; and

2. The period from November 13, 2020, to January 31, 2021, shall be excluded from

calculation under the Speedy Trial Act.

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ELLEN L. HOLLANDER
UNITED STATES DISTRICT JUDGE
